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      Attorneys for Plaintiff
 7
                            IN THE UNITED STATES pJSTRICT COURT
 8
                                  FOR THE DISTRICT OF ARIZONA
                                                    r
 9
10     United States of America,                            CR23-02118 TUC-RM(EJM)

11                             Plaintiff,                          INDICTMENT
12             vs.                                      VIO:   18 U.S.C. § 554(a)              -
                                                               (Smuggling Goods from the United
13                                                             States)
       Hugo Acosta-Osorio,                                     Count 1
14
                              Defendant.                       18 U.S.C. § 933(a)(2) & (b)
15                                                             (Felony Receipt of a Firearm)
                                                               Count 2
16
17     THE GRAND JURY CHARGES:
18                                              COUNT 1
19            On or about January 21, 2023, in the District of Arizona, Defendant HUGO
20     ACOSTA-OSORIO, knowingly attempted to export and send from the United States any
21     merchandise, article, or object contrary to any law or regulation of the United States, and
22     received, concealed, bought, sold, and in any manner facilitated the transportation,
23     concealment, and sale _of such merchandise, article or object, that is:
24        -   Zestava Arms 7.62 Rifle;
25        -   30-Round Magazine;
26        -   1,000 Rounds of7.62 Ammunition;
27        -   1,002 Rounds of9mm Luger Ammunition;
28
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 1    knowing the same to be intended for exportation contrary to any law or regulation of the
 2    United States, to wit: Title 50, United States Code, Section 4819; Title 15, Code of Federal
 3    Regulations, Part 736.2; Title 15, Code of Federal Regulations, Part 774; and Title 15,
 4    Code of Federal Regulations, Part 738.
 5              In violation of Title 18, United States Code, Section 554(a).
 6
 7                                                COUNT2
 8              On or about January 21, 2023, in the District of Arizona, Defendant HUGO
 9    ACOSTA-OSORIO did receive from another person, in or otherwise affecting interstate or
10    foreign commerce, firearms, to wit:
11         -    Zestava Arms 7 .62 Rifle;
12    knowing or having reasonable cause to believe that such receipt would constitute a felony,
13    to wit: Title 18, United States Code, Section 554(a), Smuggling Goods from the United
14    States.
15              In violation of Title 18, United States Code, Section 933(a)(2) & (b).
16
                                                    A TRUE BILL
17
18                                                               ISi
                                                    FOREPERSON OF THE GRAND JURY
19                                                  Dated: December 6, 2023
20    GARYM. RESTAINO
      United States Attorney
21    District of Arizona
22
                ISi
23    NATHANIELJ. WALTERS
      Assistant United States Attorney
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